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                       UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                       CRIMINAL ACTION

v.                                                             NO. 14-022

PETER M. HOFFMAN,                                              SECTION "F"
MICHAEL P. ARATA,
SUSAN HOFFMAN

                             ORDER AND REASONS

        Before the Court is Michael Arata's motion to dismiss Counts

22 through 25 of the second superseding indictment. For the reasons

that follow, the motion is DENIED without prejudice.

                                    Background

        Peter and Susan Hoffman and Michael Arata were partners in

various movie-related business ventures.            One such venture was the

purchase and renovation of a dilapidated mansion on Esplanade

Avenue in New Orleans, which they turned into a post-production

film editing facility.            This federal white collar criminal case

arises from the government's allegations that -- in connection with

the renovation project -- the Hoffmans and Mr. Arata (through

companies they owned) allegedly committed, aided and abetted, and

conspired to commit, mail and wire fraud by submitting false

expense reports in order to deceive the State of Louisiana into

issuing state tax credits that they had not actually earned and




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were not entitled to receive.1          Mr. Arata, alone, is also charged

with making false statements to federal agents.

     The    facts    giving   rise   to      this     criminal     case     are   more

completely summarized in the second superseding indictment and in

this Court's Order and Reasons dated July 18, 2014.                     United States

v. Hoffman, No. 14-22, 2014 WL 3589563, at *1-3 (E.D.La. July 18,

2014).     The background facts most pertinent to the resolution of

the present motion are summarized here.

     In renovating the property at 807 Esplanade Avenue, Peter

Hoffman,2    Susan   Hoffman,3    and       Michael     Arata,4        through    their


     1
      The backdrop of this federal criminal case is a Louisiana
state law tax credit program, in which individuals and businesses
that applied to the State for film infrastructure tax credits were
entitled to receive an amount equal to 40% of their qualified and
audited film infrastructure expenditures.      Once certified, the
applicants could then sell the certification to local businesses
and individuals, who would then use the tax credit certifications
to offset taxes that the businesses and individuals would otherwise
have owed to the State of Louisiana.
     2
      Peter M. Hoffman, the government alleges, was the CEO of
Seven Arts Entertainment, Inc., a company involved in the motion
picture and entertainment industry in California. Mr. Hoffman was
also an attorney and served as a executive in numerous financial
and tax-preferred financings for over 25 years. He also owned,
operated, and controlled numerous companies affiliated with Seven
Arts Entertainment, Inc.
     3
      Susan Hoffman, the government alleges, was a California film
producer who relocated to New Orleans. Susan Hoffman also owned
and operated several companies, including Leeway Properties, New
Moon Pictures, LLC, and Seven Arts Pictures Louisiana, LLC.
     4
      Michael P. Arata, it is alleged, was also a Louisiana
attorney and businessman who owned and operated companies involved
in the movie and entertainment industry, including Seven Arts
Pictures Louisiana, LLC, Voodoo Production Services, LLC, Voodoo

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respective companies, availed themselves of the Louisiana film

infrastructure    tax    credit    program.    They     submitted      three

applications and supporting documents to the State for tax credits.

As statutorily required, the defendants first submitted the 807

Esplanade expenditures to auditors for verification. To verify the

expenditures, the auditors requested proof of payment such as

invoices, bank transfers, bank statements, and other corporate

financial records. Based on this information, the auditors created

audit reports detailing the defendants' claimed expenditures on 807

Esplanade.    These audit reports were submitted as part of the

February 26, 2009, January 20, 2010, and July 3, 2012 submissions

to the State for film infrastructure tax credits.

     On June 19, 2009 the State issued $1,132,480.80 in tax credits

to Seven Arts Production Louisiana, LLC as a result of the first

application, the February 26, 2009 submission. Mr. Arata paid cash

to the partnership for these tax credits, at a discounted price,

through his company LEAP Film Fund II, LLC, and then sold the tax

credits to local businesses and individuals for profit. (The State

did not issue tax credits based on the January 20, 2010 and July 3,

2012 applications).

     On January 27, 2014 Mr. Arata, with his counsel present, made

statements to a Special Agent of the FBI pursuant to a written



Studios, LLC, and LEAP Film Fund II, LLC, which purchased, sold and
brokered Louisiana film tax credits.

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proffer agreement with the government.           The government bargained

for       "completely   truthful"      information     "with      no   material

misstatements or omissions of fact" so that it could "assess the

value, extent, and truthfulness of [Mr. Arata's] information [about

the criminal liability of [Mr. Arata] and others" in order to

"ultimately reach a decision concerning [Mr. Arata's] cooperation."

In exchange, Mr. Arata received assurances from the government that

"statements or information contained in [Mr. Arata's] proffer may

not be used in the government's case-in-chief against [Mr. Arata]

should a trial be held."5

      Shortly thereafter, on February 6, 2014 a grand jury returned

a six-count Indictment, charging Peter Hoffman and Michael Arata

with conspiracy (Count 1), as well as aiding and abetting, and

actually committing wire fraud (Counts 2 - 6), in violation of 18

U.S.C. §§§        371, 2, 1343.     After first superseding on April 3,

2014,6      the   government   filed    a   25-count    second     superseding



      5
      Although the government agreed not to directly use Mr.
Arata's proffer statements or proffer "in the government's case-in-
chief", the parties agreed that "[t]he government may make
derivative use of...any statements or information provided by [the]
proffer."
      6
      This Superseding Indictment filed on April 3, 2014 charged
Susan Hoffman for the first time, and added additional charges
against the other defendants: conspiracy (Count 1), wire fraud and
aiding and abetting against Peter Hoffman and Michael Arata (Counts
2 - 5), wire fraud and aiding and abetting against all three
defendants (Counts 6 - 17), mail fraud and aiding and abetting
against all three defendants (Count 18), and false statements
against Michael Arata only (Counts 19 - 22).

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indictment on May 15, 2014, charging the Hoffmans and Mr. Arata

with conspiring to commit, committing, and aiding and abetting,

wire and mail fraud, in violation of 18 U.S.C. §§§§ 371, 1343,

1341,       and    2,   and   also   charging   Mr.   Arata   with     making   false

statements to federal agents.7            It is the false statement charges,

Counts 22 through 25, that are the targets of this motion.                      (At no

time did the government seek judicial approval in advance of

charging Arata with making false statements).                 The false statement

counts -- Counts 22 through 25 -- charge:

                                   COUNTS 22 - 25
                                 (False Statements)

             On or about January 27, 2014, in the Eastern
        District of Louisiana, in a matter within the
        jurisdiction of the United States Department of Justice,
        a department of the Government of the United States, the
        defendant, MICHAEL ARATA, did knowingly and willfully
        make materially false, fictitious and fraudulent
        statements and representations to a Special Agent of the
        Federal Bureau of Investigation as more particularly
        described in each count below:



  COUNT           DESCRIPTION OF STATEMENT
    22            MICHAEL ARATA stated that he terminated his relationship
                  with defendant PETER HOFFMAN in or about July 2009, when
                  in truth and in fact, as he then well knew, he had
                  continued working with PETER HOFFMAN including reviewing
                  and preparing information for the January 20, 2010
                  application for tax credits and other tax credit related
                  business ventures.

        7
      Count 1 alleges conspiracy, Counts 2-5 allege wire fraud as
against only Messrs. Hoffman and Arata, Counts 6-20 allege wire
fraud against all three defendants, Count 21 alleges mail fraud,
and Counts 22 - 25 charge only Michael Arata with making false
statements to federal agents in violation of 18 U.S.C. § 1001.

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      23   MICHAEL ARATA stated that he was not aware that $350,000
           in legal fees were submitted to the State of Louisiana
           for tax credits, when in truth and in fact, as he then
           well knew, he was aware that $350,000 in legal fees had
           been submitted to the State and he had personally
           provided information to the auditors in support of the
           claimed legal fees in order to assist in the completion
           of the January 20, 2010 application for tax credits.
    24     Regarding film equipment reported in the February 26,
           2009 tax credit application to the State of Louisiana,
           MICHAEL ARATA stated that the film equipment had been
           “acquired” in that the equipment would be contributed to
           807 Esplanade by the vendor as a business partner, when
           in truth and in fact, as he then well knew, the equipment
           had not been acquired or contributed and that he had
           repeatedly advised the auditors and the State that the
           equipment had been purchased and paid for.
    25     MICHAEL ARATA stated he thought he fully disclosed both
           sides of the transactions for construction and equipment
           expenditures to the auditors, when in truth and in fact,
           as he then well knew, he had purposely concealed the
           circular transactions from the auditors.
      All in violation of Title 18, United States Code, Section
1001.

       All three defendants moved to dismiss Counts 1 through 21 of

the    second   superseding    indictment     (which   charge     them   with

conspiracy to commit mail and wire fraud, as well as committing and

aiding and abetting mail and wire fraud).           On July 18, 2014 the

Court denied the defendants' motions to dismiss.          United States v.

Hoffman, No. 14-22, 2014 WL 3589563, at *9-11 (E.D.La. July 18,

2014).     Mr. Arata now seeks dismissal of Counts 22 through 25, the

false statements charges, of the second superseding indictment.

                                    I.
                                    A.

       "[T]he propriety of granting a motion to dismiss an indictment

... by pretrial motion is by-and-large contingent upon whether the

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infirmity in the prosecution is essentially one of law or involves

determinations of fact. If a question of law is involved, then

consideration of the motion is generally proper." United States v.

Fontenot, 665 F.3d 640, 644 (5th Cir. 2011)(quoting United States

v. Flores, 404 F.3d 320, 324 (5th Cir. 2005)(internal quotation

marks and citations omitted)).             Mr. Arata does not allege that the

false statement charges fail to state an offense. Rather, he seeks

dismissal of Counts 22 through 25 of the second superseding

indictment on the ground that the false statement counts breach a

January 27, 2014 proffer agreement between him and the government.

                                           B.

     Like contracts between private parties, agreements executed

during   a   criminal        investigation        or    prosecution      between    the

government and a witness, target, or accused are interpreted in

accordance with general principles of contract law.                        See United

States v. Castaneda, 162 F.3d 832, 835 (5th Cir. 1998).                         "Under

these principles," the Fifth Circuit instructs, "if a defendant

lives up to his end of the bargain, the government is bound to

perform its promises."          Id. at 835-36.          On the other hand, "if a

defendant    'materially           breaches'      his     commitments      under    the

agreement..., the government can be released from its reciprocal

obligations."       Id. at 836.           However, due to the constitutional

implications       present    in    the    criminal     context,     the   government

generally    may    not   unilaterally          nullify    agreements;     rather,      a


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special procedure8 is triggered when the government takes the

position that a criminal defendant has breached an agreement such

as a non-prosecution agreement.         See id.; cf. Kastigar v. United

States, 406 U.S. 441, 460 (1972).9        Notably, the focus is on the

materiality of the defendant's alleged breach, and the burden of

proof rests with the government:

     When the government believes that a defendant has
     breached the terms of a nonprosecution agreement and
     wishes to be relieved of performing its part of the
     bargain...due process [requires that] the government must
     prove to the court by a preponderance of the evidence
     that (1) the defendant breached the agreement, and (2)
     the breach is sufficiently material to warrant
     rescission. If the pleadings show no factual dispute,
     the court may determine breach as a matter of law.

Castaneda, 162 F.3d at 836.       The Fifth Circuit has declined to

announce precisely when a judicial determination of breach is

required to comport with due process. Id. at 837 n.25 (noting that

the government did not seek a judicial determination of breach

until after the defendant had been indicted and that the defendant



     8
      This ensures compliance with the Fifth Amendment Due Process
guarantee, that "[n]o person ... shall be ... deprived of life,
liberty, or property, without due process of law." U.S. CONST.
amend. V.
     9
      The Supreme Court in Kastigar explained that the government
is absolutely prohibited from using information provided by a
defendant who is granted use and derivative use immunity. 406 U.S.
at 460. When a defendant claims that the government wrongly used
immunized testimony, the government must prove by a preponderance
of the evidence "that the evidence it proposes to use is derived
from a legitimate source wholly independent of the compelled
testimony." United States v. Cantu, 185 F.3d 298, 301-302 (5th Cir.
1999)(citation omitted).

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did not contend that a hearing had to be held prior to indictment).

What the case literature seems to require is that the government

must prove material breach "[p]rior to prosecuting the defendant"

(United States v. Cantu, 185 F.3d 298, 302 (5th Cir. 1999)) to

insure that the defendant is given "the opportunity to debate this

issue to the court." United States v. Miller, 406 F.3d 323, 334-45

(5th Cir. 2005).

                                         II.
                                         A.

      The issue presented by Mr. Arata's motion to dismiss is

whether the government breached the January 27 proffer agreement by

indicting Mr. Arata on charges that he made false statements during

his   proffer    meeting.     If   the    government    breached      the   proffer

agreement,      then   (Mr.   Arata      submits)   dismissal        of   the   false

statement counts (Counts 22 through 25) of the second superseding

indictment is the remedy.

      The Court turns to examine the written proffer agreement,

which was signed on January 27, 2014 by counsel for the government

and by Mr. Arata in advance of a proffer meeting held that day.

The government insisted:

           It is my understanding that your client, Michael
      Arata, is interested in providing a proffer of
      information and cooperation to investigating agents.
      And, the government is also interested in pursuing this
      matter.   However, before a decision can be reached
      concerning whether or not your client should be afforded
      any concessions, the proffer must take place.        The
      proffer will allow the government to assess the value of


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   the information and ultimately reach                a     decision
   concerning your clients cooperation.

        The requirements set out in this letter are
   necessary to avoid the need for a Kastigar or taint
   hearing, whereby the government would be forced to
   demonstrate that its evidence was not tainted by a
   statement made by your client during the proffer
   discussion, if there were a trial in this matter.
   Therefore, this letter sets forth the ground rules for
   addressing the proffer of information your client wishes
   to provide:

   1.       Purpose: The purpose of your client making a
   proffer is to provide the government with an opportunity
   to assess the value, extent, and truthfulness of your
   client's information about the criminal liability of your
   client and others.

   2.      Truth: Your client's proffer must be completely
   truthful with no material misstatements or omissions of
   fact.

   3.     Recording: At the government's option, the proffer
   interview may be tape-recorded, videotaped, or recorded
   through an agent's or government attorney's handwritten
   notes.

   [4.         Polygraph examination requirement, which
   apparently was struck from letter and initialed and,
   thus, inapplicable.]

   5.      No promises: While your client hopes to receive
   some benefit by cooperating with the government, your
   client expressly understands that the government is
   making no promise of any consideration at this time.

   6.       No direct use: The government agrees that
   statements or information contained in your client's
   proffer may not be used in the government's case-in-chief
   against your client should a trial be held.          This
   provision does not apply to any statement made by your
   client regarding crimes of violence pursuant to paragraph
   11 of this agreement.

   7.        Impeachment: If your client should testify
   materially contrary to the substance of the proffer, or
   otherwise present in a legal proceeding a position

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   materially inconsistent with the proffer, the proffer may
   be used against your client as impeachment or rebuttal
   evidence, or as the basis for a prosecution for perjury
   or false statement.

   8.         Derivative Use:     The government may make
   derivative use of, and may pursue investigative leads
   suggested by, any statements or information provided by
   your client's proffer. This provision is necessary to
   eliminate the necessity of a Kastigar hearing wherein the
   government would have had to prove that the evidence it
   sought to introduce at trial or in a related legal
   proceeding is derived from "a legitimate source wholly
   independent" of statements or information from the
   proffer. Furthermore, by signing this document, you and
   your client waive any hearing pursuant to Kastigar v.
   United States, 406 U.S. 441 (1972).

   9.     Sentencing Information: Your client understands
   that if he becomes an indicted defendant, the government,
   pursuant to 18 U.S.C. Section 3661, must provide to the
   client's sentencing judge the contents of the proffer.
   Pursuant to U.S.S.G. Section 1B1.8, however, the proffer
   may not be used to determine the appropriate guideline
   sentence, except as stated in the "Impeachment" paragraph
   above.

   10.     Brady Discovery: Your client understands that
   Brady v. Maryland and its progeny require that the
   government provide any other indicted defendant all
   information known to the government which tends to
   mitigate or negate such defendant's guilt. Should your
   client's proffer contain Brady material, the government
   will be required to disclose this information to the
   appropriate defendant(s).

   11.     Crimes of Violence: Any statements made by your
   client concerning any crime of violence may be used
   against your client directly or indirectly.

   12.     Full Agreement: This document constitutes the
   full and complete agreement of the parties.




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                                       B.

     In   dispute   is   the   scope    and    import      of    this    agreement.

Ostensibly   characterizing      the    agreement       as      akin    to   a   non-

prosecution agreement, Mr. Arata contends that the false statement

charges are a breach of the proffer agreement between him and the

government, that the government failed to obtain pre-indictment

court-approval to release itself from the proffer agreement, and

that dismissal is the remedy.       Countering, the government advances

three reasons to deny Arata's motion: (1) First, the government

contends that there was no promise not to prosecute Mr. Arata;

therefore,   Mr.    Arata's    assertion      that   the     government       needed

judicial approval to seek an indictment is refuted by the proffer

agreement's plain terms. (2) Second, even assuming the proffer

letter could be construed as a non-prosecution agreement, no

agreement can oblige the government to obtain judicial approval as

a prerequisite to charging a defendant; judicial examination of a

non-prosecution agreement may be properly conducted post-indictment

and, in any event, the absence of pre-indictment review does not

warrant dismissal. (3) Third, even if Arata had a right to a pre-

indictment judicial determination as to which party breached the

agreement, he waived the issue by not raising it before the second

superseding indictment was filed.

     By way of reply, Mr. Arata urges the Court to reject the

government's argument -- that the proffer agreement only bars the


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use of Arata's statements at trial, and not before a grand jury --

because it elevates form over substance.                If the Court denies the

motion to dismiss, Mr. Arata points out, the government must

introduce his proffer statements in its case-in-chief in order to

prove the false statement counts; and this would breach the

agreement. Arata emphasizes that the government has made no effort

to show that Arata materially breached the proffer agreement, and

its failure to carry its burden of establishing a breach of the

proffer agreement before prosecuting Arata warrants dismissal of

the false statement counts.

                                          C.

        The terms of the proffer agreement are clear, simple, and

direct.       By its express terms, the proffer was a tool to assess Mr.

Arata's truthfulness. Reasonably construing the agreement, the

government promised Mr. Arata one benefit: his proffer statements

would not be used against him "in the government's case-in -chief

... should a trial be held."               This is quite literally a limited

benefit;10 the government did not promise derivative immunity, it

did not promise Mr. Arata that his statements would not be used in

a grand jury presentation, nor did it promise Mr. Arata that he

would        not   be   charged   or    prosecuted    related     to   the   proffer

statements.         In fact, a fair reading of the proffer instructs that



        10
      Limited all the more by it being patently conditioned on Mr.
Arata's truthfulness.

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prosecution     remained   a     possibility.     Paragraph      2    required

truthfulness.      Considering the plain words used in the proffer

agreement, the Court finds that the government has not breached the

proffer agreement simply by presenting to the grand jury and

including the false statement counts in the superseding and second

superseding indictment.        Accordingly, the government did not need

to seek the Court's advance permission to charge Mr. Arata, and

dismissal of the false statement counts is therefore not warranted.

     As Mr. Arata points out,11 however, this decision fails to

address what would seem to be an obvious unresolved issue that must

be dealt with, pre-trial, after an evidentiary hearing (or, at the

very least, on a better factual record than the Court has before

it).12    If this case goes to trial, as it is slated to do in January


     11
      Mr. Arata argues that ignoring this issue until trial does
not make sense, and he urges the Court to either dismiss the false
statement counts or preclude the government from introducing
Arata's statements in its case-in-chief. The Court declines to
dismiss the false statement counts for the reasons stated, and
notes that the proffer agreement provides that the government may
not introduce Mr. Arata's statements in its case-in-chief; the
government has neither endeavored to be, nor has been, absolved
from its promise.
     12
      The only record facts, which are not probative of the
inevitable issue of material breach, are undisputed:
•    On January 27, 2014 the government and Mr. Arata entered into
     a proffer agreement.
•    Ten days later, the government indicted Mr. Arata.
•    Two months later, the government obtained a superseding
     indictment against Mr. Arata that for the first time included
     charges that Mr. Arata made false statements to federal agents
     at the proffer.
•    On May 15, 2014 the government obtained a second superseding
     indictment, which contained the same false statement charges.

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2015, it would appear that the government must use Mr. Arata's

proffer statements in its case-in-chief in carrying its burden to

prove its charges that he made false statements during the proffer

meeting.     That   would   violate    the   clear   terms   of   the   proffer

agreement. Neither Mr. Arata nor the government has requested an

evidentiary hearing on the present motion. Yet both seem to agree

that an evidentiary hearing is contemplated when it becomes the

Court's task to determine, based on record facts, whether or not

Mr. Arata materially breached an agreement with the government such

that the government is absolved of any of its obligations under the

proffer agreement.13 Nevertheless, the issue is not squarely before

the Court at this time, and the record is ill-suited to address,

much less resolve, this premature issue.

       IT IS ORDERED: that Mr. Arata's motion to dismiss is DENIED

without prejudice.

                                 New Orleans, Louisiana, October 8, 2014



                                      ______________________________
                                           MARTIN L. C. FELDMAN
                                       UNITED STATES DISTRICT JUDGE




•      At no time did the government seek judicial approval to charge
       Arata with making false statements.
       13
      If the case literature outlined by the Court and briefed by
the parties is to be the Court's guide, then such a hearing indeed
must occur in advance of the government use of Mr. Arata's proffer
statements during its case-in-chief.

                                       15
